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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


 IN RE: CAPITAL ONE CONSUMER                          )
 DATA SECURITY BREACH LITIGATION                      )       MDL No. I:I9md29I5(AJT/JFA)
                                                      )

 This Document Relates to ALL Cases



                                              NOTICE
                             May 27, 2020 Motions to Dismiss Hearing

        On May 27, 2020 at 10:00 a.m., this Court will hold a hearing on the currently pending

 motions to dismiss [Docs. 386, 389, 392, 393] filed by the Defendants in this action. For counsel

 and members of the public who wish to participate by telephone {i.e., listening, but without the

 opportunity to speak), the teleconference dial-in information is:

        Dial-In:                1-888-278-0296


        Access Code:           4593250#


        Parties who wish to participate via teleconference must access the teleconference line no

 later than three (3) minutes prior to the scheduled start time in order to allow the proceeding to

 be conducted without disruption.

        The Clerk is directed to docket this Notice in the lead case (1:19md2915), as required per

 PTO-I.




                                               Anthony J. Trei
                                               United States lA^icX Judge


 Alexandria, Virginia
 May 26, 2020
